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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NIAGARA
                 -------------------------------------------------------------------X
                 JANE DOE 1, JANE DOE 2, and CAMELLIA
                 BELLIS,                                                                        Index No.: E173039/2020

                                                             Plaintiffs,                                SECOND
                                   -against -                                                          AMENDED
                                                                                                       VERIFIED
                 ONSTAGE DANCE,       INC., ONSTAGE, LLC,                                             COMPLAINT
                 DEANA CHIAPPONE d/b/a ONSTAGE, DEANA
                 CHIAPPONE KAHLE and MATTHEW MULLETT,

                                                             Defendants.
                -------------------------------------------------------------------X
                         Plaintiffs1 above named, complaining of the defendants, by MERSON LAW, PLLC,

                 respectfully allege(s):


                                                             RELEVANT FACTS

                           1.      This is a case of a sexual predator, MATTHEW MULLETT, using his position as

                     a disc jockey for a dancing school, to manipulate, groom, and sexually abuse three young minor

                     children, JANE DOE 1, JANE DOE 2 and CAMELLIA BELLIS.

                           2.      In approximately 1998, MATTHEW MULLETT was employed by defendant

                     ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a ONSTAGE and/or

                     DEANA CHIAPPONE KAHLE as a disc jockey for dance rehearsals and dance recitals.

                           3.      In approximately 1998, as a part of MATTHEW MULLETT’s employment by

                     defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a

                     ONSTAGE and/or DEANA CHIAPPONE KAHLE, MATTHEW MULLETT was providing

                     services at dance rehearsals or dance recitals.



                 1
                   Plaintiffs use a pseudonym because they are victims of a sex crime pursuant to N.Y. Civ. Rights § 50-b and other
                 statutory and common law principles.


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                        4.      In approximately 1998, when JANE DOE 1 was a minor child of 15 years old,

                 MATTHEW MULLETT targeted JANE DOE 1 for his predatory behavior, groomed her and

                 engaged in sex with her at an entertainment venue managed, operated and controlled by

                 ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a ONSTAGE and/or

                 DEANA CHIAPPONE KAHLE (hereinafter “the Venue”).

                        5.      JANE DOE 1 was at the Venue at the behest, request and/or express direction of

                 defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a

                 ONSTAGE and/or DEANA CHIAPPONE KAHLE for the purpose of participating in either a

                 dance rehearsal or dance recital.

                        6.       Thereafter, MATTHEW MULLETT repeatedly communicated with JANE DOE

                 1 via text message to arrange meetings with her for the purpose of engaging in sex with her and

                 used his position with the co-defendants and his relationship with JANE DOE 1 to target JANE

                 DOE 2 for his predatory behavior.

                        7.       In approximately 1998, when JANE DOE 2 was minor child of 16 years old,

                 MATTHEW MULLETT targeted JANE DOE 2 and groomed her while she was at or on the co-

                 defendants’ premises and/or at the Venue at the behest, request and/or express direction of

                 defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a

                 ONSTAGE and/or DEANA CHIAPPONE KAHLE for the purpose of participating in either a

                 dance rehearsal or dance recital.

                        8.      In approximately 1998, MATTHEW MULLET had sex with both JANE DOE 1

                 and JANE DOE 2 on multiple occasions.

                        9.       In approximately 1998, when CAMELLIA BELLIS was a minor child of 14 years

                 old, MATTHEW MULLETT targeted CAMELLIA BELLIS and groomed her while she was at




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                 the Venue at the behest, request and/or express direction of defendants ONSTAGE DANCE,

                 INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a ONSTAGE and/or DEANA CHIAPPONE

                 KAHLE for the purpose of participating in either a dance rehearsal or dance recital.

                        10.     Sometime in 1998, MATTHEW MULLETT invited CAMELLIA BELLIS to

                 dinner and a movie and brought her to “Motel 6,” where he proceeded to give her beer to drink

                 and raped her thereafter.

                        11.     MATTHEW MULLETT used his position as disc jockey employed by ONSTAGE

                 DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a ONSTAGE and/or DEANA

                 CHIAPPONE KAHLE to befriend, manipulate, groom and sexually abuse other dance students

                 similarly situated to JANE DOE 1, JANE DOE 2 and CAMELLIA BELLIS.

                        12.     Defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE

                 d/b/a ONSTAGE and/or DEANA CHIAPPONE KAHLE knew or should have known of

                 MATTHEW MULLETT’s tendencies and propensities to target, befriend, manipulate, groom and

                 sexually abuse the minor students attending the school and who were participating in dance

                 rehearsals and dance recitals at entertainment venues they managed, operated at their behest,

                 request and express direction.

                        13.     ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA CHIAPPONE d/b/a

                 ONSTAGE and/or DEANA CHIAPPONE KAHLE knew or should have known of the long-

                 term abuse that JANE DOE 1, JANE DOE 2 and CAMELLIA BELLIS and other teenage girls

                 were suffering at the hands of one their agents, servants or agents, servants and employees

                 MATTHEW MULLETT.

                        14.     As such, Plaintiffs suffered catastrophic and lifelong injuries as a result of

                 defendant’s negligence in undertaking a duty to keep its dancers safe from predators and failing




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                 to act in accord with that duty by allowing MATTHEW MULLETT, to continue his role where

                 he had the access and the means to prey on young girls like JANE DOE 1, JANE DOE 2 and

                 CAMELLIA BELLIS. Defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA

                 CHIAPPONE d/b/a ONSTAGE, DEANA CHIAPPONE KAHLE and MATTHEW

                 MULLETT’s gross negligence, reckless, willful, and/or wanton conduct supports punitive

                 liability.


                            15.   Plaintiffs bring this lawsuit to recover for the emotional and physical suffering

                 they incurred because of the negligence of ONSTAGE DANCE, INC., ONSTAGE, LLC,

                 DEANA CHIAPPONE D/B/A ONSTAGE and DEANA CHIAPPONE KAHLE and to make sure

                 no other child is forced to suffer the abuse and physical and mental trauma they felt and continue

                 to feel.

                                                           PARTIES

                            16.   At all times herein mentioned defendant ONSTAGE DANCE, INC. was a

                 domestic corporation incorporated in the State of New York and by virtue of the laws of the State

                 of New York.

                            17.   At all times herein mentioned, defendant ONSTAGE DANCE, INC. was located

                  at 20 Bonner Drive, Lockport, New York 14094.

                            18.   At all times herein mentioned defendant ONSTAGE DANCE, LLC was a

                  domestic limited liability corporation incorporated in the State of New York and by virtue of the

                  laws of the State of New York.

                            19.   At all times herein mentioned, defendant ONSTAGE DANCE, LLC was located

                  at 20 Bonner Drive, Lockport, New York 14094.




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                       20.    At all times herein mentioned, defendant DEANA CHIAPPONE d/b/a

                 ONSTAGE was located at 4521 Candlewood Dr. Lockport, NY 14094-1250.


                       21.    At all times herein mentioned, defendant DEANA CHIAPPONE KAHLE was

                 an agent, servant and/or employee of defendants ONSTAGE DANCE, INC, ONSTAGE, LLC,

                 and DEANA CHIAPPONE d/b/a ONSTAGE.

                       22.    At all times herein mentioned, defendants DEANA CHIAPPONE KAHLE was

                 owner and operator, as well as an agent, servant and/or employee of at ONSTAGE DANCE,

                 INC., ONSTAGE, LLC and DEANA CHIAPPONE d/b/a ONSTAGE operating under the

                 direction and control of defendants ONSTAGE DANCE, INC., ONSTAGE, LLC and

                 DEANA CHIAPPONE d/b/a ONSTAGE and its agents, servants and/or agents, servants and

                 employees.

                       23.    At all times herein mentioned, defendant MATTHEW MULLETT was an agent,

                 servant and/or employee of defendants ONSTAGE DANCE, INC, ONSTAGE, LLC, DEANA

                 CHIAPPONE d/b/a ONSTAGE and DEANA CHIAPPONE KAHLE.

                       24.    At all times herein mentioned, defendants MATTHEW MULLETT was an

                 agent, servant and/or employee of at ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA

                 CHIAPPONE d/b/a ONSTAGE and DEANA CHIAPPONE KAHLE operating under the

                 direction and control of defendants ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA

                 CHIAPPONE d/b/a ONSTAGE and DEANA CHIAPPONE KAHLE and its agents, servants

                 and/or agents, servants and employees.

                       25.    At all times herein mentioned, Defendants ONSTAGE DANCE, INC.,

                 ONSTAGE, LLC, DEANA CHIAPPONE d/b/a ONSTAGE, DEANA CHIAPPONE




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                  KAHLE and MATTHEW MULLETT were agents, servants, agents, servants and employees

                  and/or alter egos of each other.


                       AS FOR A FIRST CAUSE OF ACTION FOR NEGLIGENCE AS TO
                                  DEFENDANT ONSTAGE DANCE, INC.

                         26.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 25. inclusive, with the same

                 force and effect as if hereinafter set forth at length.

                         27.     At all times mentioned herein, defendant ONSTAGE DANCE, INC. owed a duty

                 of care in loco parentis to keep the minor children who used their services, facilities and

                 venues safe from sexual abuse by their agents, servants and employees including disc jockeys

                 under its supervision and control.

                         28.     At all times herein mentioned, defendant ONSTAGE DANCE, INC. owed a duty

                  of care to properly supervise its agents, servants and employees including disc jockeys to ensure

                  that the minor children who used their services, facilities and venues were not being abused by

                  their agents, servants and employees, including disc jockeys.

                         29.     At all times mentioned herein, defendant ONSTAGE DANCE, INC. and/or its

                  agents, servants and/or employees breached the above-stated duty in a negligent, reckless, willful

                  and wanton manner, and caused Plaintiffs to be sexually assaulted.

                         30.     As a result of the negligence of defendant ONSTAGE DANCE, INC. and/or its

                  agents, servants and/or agents, servants and employees, plaintiffs were caused serious personal

                  injuries, emotional distress, mental pain and suffering, mental anguish and/or physical

                  manifestations thereof, and other losses, all of which have not as of yet been ascertained.




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                        31.     By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        32.     By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        33.     The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        34.     This action falls within exceptions to Article 16 of the C.P.L.R.

                     AS AND FOR A SECOND CAUSE OF ACTION FOR NEGLIGENT HIRING,
                   RETENTION AND SUPERVISION AS TO DEFENDANT ONSTAGE DANCE, INC.

                        35.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                 paragraphs of this Complaint marked and designated 1. through 34. inclusive, with the same

                 force and effect as if hereinafter set forth at length.

                        36.     Defendant ONSTAGE DANCE, INC. had a duty to supervise and prevent known

                risks of harm to its minor children dancers and students.

                       37.      Defendant ONSTAGE DANCE, INC. was negligent in hiring, retaining and

                 supervising defendant MATTHEW MULLETT and other agents, servants and employees, who

                 were careless, unskillful, negligent, reckless and acted in a willful and wanton manner in not

                 possessing the requisite knowledge, skill and moral character of agents, servants and employees

                 who should have properly been supervising the disc jockeys to ensure the safety of the dancers,

                 students and minor children.

                        38.     Defendant ONSTAGE DANCE, INC. knew or should have known that defendant

                 MATTHEW MULLETT sexually assaulted plaintiffs and/or had the capacity and/or

                 propensity to do so.




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                       39.     As a result of such negligent hiring, supervising and retention, Plaintiffs were

                 caused to suffer serious personal injuries, emotional distress, conscious pain and suffering,

                 mental anguish and/or physical manifestations thereof, and other losses, all of which have not as

                 of yet been ascertained.

                       40.     By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                       41.     By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendant in such sums as a jury would find fair, just and adequate.

                       42.     The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                       43.     This action falls within exceptions to Article 16 of the C.P.L.R.

                 AS AND FOR THE THIRD CAUSE OF ACTION FOR NEGLIGENT INFLICTION OF
                      EMOTIONAL DISTRESS AS TO DEFENDANT ONSTAGE DANCE, INC.

                       44.      Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 43., inclusive, with the

                 same force and effect as if herein set forth at length.

                        45.    Defendant ONSTAGE DANCE, INC. and its agents, servants and/or agents,

                 servants and employees, knew or reasonably should have known that the failure to properly

                 advise, supervise and hire MATTHEW MULLETT, who sexually abused Plaintiffs, would and

                 did proximately result in physical and emotional distress to Plaintiffs.

                        46.    Defendant ONSTAGE DANCE, INC. and its agents, servants and/or employees

                 knew or reasonably should have known that the sexual abuse committed by MATTHEW

                 MULLETT and other improper conduct would and did proximately result in physical and

                 emotional distress to Plaintiffs.


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                          47.    Defendant ONSTAGE DANCE, INC. had the power, ability, authority and duty

                  to intervene with and/or stop the improper conduct that resulted in Plaintiffs being sexually

                  abused by MATTHEW MULLETT.

                          48.    Despite said knowledge, power, ability, authority and duty, defendant ONSTAGE

                  DANCE, INC. negligently failed to act so as to stop, prevent, and prohibit the improper conduct

                  that resulted in MATTHEW MULLETT sexually abusing Plaintiffs.

                          49.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          50.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          51.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                          52.    This action falls within exceptions to Article 16 of the C.P.L.R.

                                AS AND FOR A FOURTH CAUSE OF ACTION FOR NEGLIGENCE
                                        AS TO DEFENDANT ONSTAGE DANCE, LLC.

                          53.    Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                  paragraphs of this Complaint marked and designated 1. through 52. inclusive, with the same

                  force and effect as if hereinafter set forth at length.

                          54.    At all times mentioned herein, defendant ONSTAGE DANCE, LLC. owed a

                 duty of care in loco parentis to keep the minor children who use their services, facilities and

                 venues safe from sexual abuse by their agents, servants and employees, including disc jockeys

                 under its supervision and control that ultimately befell the Plaintiffs.

                          55.    At all times herein mentioned, defendant ONSTAGE DANCE, LLC. owed a duty

                  of care to properly supervise its agents, servants and employees and disc jockeys to ensure that


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                  the minor children who use their services were not being abused by their agents, servants and

                  employees, including disc jockeys.

                          56.    At all times mentioned herein, defendant ONSTAGE DANCE, LLC. and/or its

                  agents, servants and/or agents, servants and employees breached the above-stated duty in a

                  negligent, reckless, willful and wanton manner, and caused Plaintiffs to be sexually assaulted.

                          57.    As a result of the negligence of defendant ONSTAGE DANCE, LLC. and/or its

                  agents, servants and/or agents, servants and employees, plaintiffs were caused serious personal

                  injuries, emotional distress, mental pain and suffering, mental anguish and/or physical

                  manifestations thereof, and other losses, all of which have not as of yet been ascertained.

                          58.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          59.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          60.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                          61.    This action falls within exceptions to Article 16 of the C.P.L.R.

                        AS AND FOR A FIFTH CAUSE OF ACTION FOR NEGLIGENT HIRING,
                   RETENTION AND SUPERVISION AS TO DEFENDANT ONSTAGE DANCE, LLC.

                         62.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 61. inclusive, with the same

                 force and effect as if hereinafter set forth at length.

                          63.    Defendant ONSTAGE DANCE, LLC. had a duty to supervise and prevent known

                 risks of harm to its minor children dancers and students.




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                        64.      Defendant was negligent in hiring, retaining and supervising defendant

                 MATTHEW MULLETT and other agents, servants and employees, who were careless,

                 unskillful, negligent, reckless and acted in a willful and wanton manner in not possessing the

                 requisite knowledge, skill and moral character of agents, servants and employees who should

                 have properly been supervising the disc jockeys to ensure the safety of the minor children dancers

                 and students.

                         65.     Defendant ONSTAGE DANCE, LLC. knew or should have known that

                 defendant MATTHEW MULLETT sexually assaulted plaintiffs and/or had the capacity and/or

                 propensity to do so.

                         66.     As a result of such negligent hiring, supervising and retention, Plaintiffs were

                  caused to suffer serious personal injuries, emotional distress, conscious pain and suffering,

                  mental anguish and/or physical manifestations thereof, and other losses, all of which have not as

                  of yet been ascertained.

                         67.     By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                         68.     By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendant in such sums as a jury would find fair, just and adequate.

                         69.     The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                         70.     This action falls within exceptions to Article 16 of the C.P.L.R.

                 AS AND FOR THE SIXTH CAUSE OF ACTION FOR NEGLIGENT INFLICTION OF
                     EMOTIONAL DISTRESS AS TO DEFENDANT ONSTAGE DANCE, LLC.




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                        71.      Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 70., inclusive, with the

                 same force and effect as if herein set forth at length.

                         72.    Defendant ONSTAGE DANCE, LLC. and its agents, servants and/or employees,

                 knew or reasonably should have known that the failure to properly advise, supervise and hire

                 MATTHEW MULLETT, who sexually abused Plaintiffs, would and did proximately result in

                 physical and emotional distress to Plaintiffs.

                         73.    Defendant ONSTAGE DANCE, LLC. and its agents, servants and/or agents,

                 servants and employees knew or reasonably should have known that the sexual abuse and other

                 improper conduct would and did proximately result in physical and emotional distress to

                 Plaintiffs.

                         74.    Defendant ONSTAGE DANCE, LLC. had the power, ability, authority and duty

                 to intervene with and/or stop the improper conduct that resulted in Plaintiffs being sexually

                 abused by MATTHEW MULLETT.

                         75.    Despite said knowledge, power, ability, authority and duty, defendant ONSTAGE

                 DANCE, LLC. negligently failed to act so as to stop, prevent, and prohibit the improper conduct

                 that resulted in MATTHEW MULLETT sexually abusing Plaintiffs.

                         76.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                         77.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                         78.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.




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                          79.    This action falls within exceptions to Article 16 of the C.P.L.R.

                      AS AND FOR A SEVENTH CAUSE OF ACTION FOR NEGLIGENCE AS TO
                               DEFENDANT DEANA CHIAPPONE d/b/a ONSTAGE

                         80.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                 paragraphs of this Complaint marked and designated 1. through 79. inclusive, with the same force

                 and effect as if hereinafter set forth at length.

                          81.    At all times mentioned herein, defendant DEANA CHIAPPONE d/b/a

                 ONSTAGE owed a duty of care in loco parentis to keep the minor children who use their services,

                 facilities and venues safe from sexual abuse by their agents, servants and employees, including

                 disc jockeys under its supervision and control that ultimately befell the Plaintiffs.

                          82.    At all times herein mentioned, defendant DEANA CHIAPPONE d/b/a

                 ONSTAGE owed a duty of care to properly supervise its agents, servants and employees,

                 including disc jockeys to ensure that the minor children who use their services, facilities and

                 venues were not being abused by their agents, servants and employees, including disc jockeys.

                          83.    At all times mentioned herein, defendant DEANA CHIAPPONE d/b/a

                 ONSTAGE and/or its agents, servants and/or agents, servants and employees breached the above-

                 stated duty in a negligent, reckless, willful and wanton manner, and caused Plaintiffs to be

                 sexually assaulted.

                          84.    As a result of the negligence of defendant DEANA CHIAPPONE d/b/a

                 ONSTAGE and/or its agents, servants and/or agents, servants and employees, plaintiffs were

                 caused serious personal injuries, emotional distress, mental pain and suffering, mental anguish

                 and/or physical manifestations thereof, and other losses, all of which have not as of yet been

                 ascertained.




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                          85.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          86.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          87.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                          88.    This action falls within exceptions to Article 16 of the C.P.L.R.

                    AS AND FOR AN EIGHTH CAUSE OF ACTION FOR NEGLIGENT HIRING,
                  RETENTION AND SUPERVISION AS TO DEFENDANT DEANA CHIAPPONE d/b/a
                                             ONSTAGE

                         89.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 88. inclusive, with the same

                 force and effect as if hereinafter set forth at length.

                          90.    Defendant DEANA CHIAPPONE d/b/a ONSTAGE had a duty to supervise and

                 prevent known risks of harm to its minor children dancers and students.

                          91.    Defendant was negligent in hiring, retaining and supervising defendant

                  MATTHEW MULLETT and other agents, servants and employees, who were careless,

                  unskillful, negligent, reckless and acted in a willful and wanton manner in not possessing the

                  requisite knowledge, skill and moral character of agents, servants and employees who should

                  have properly been supervising the disc jockeys to ensure the safety of the dancers and minor

                  children.


                          92.    Defendant DEANA CHIAPPONE d/b/a ONSTAGE knew or should have

                  known that defendant MATTHEW MULLETT sexually assaulted plaintiffs and/or had the

                  capacity and/or propensity to do so.


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                         93.    As a result of such negligent hiring, supervising and retention, Plaintiffs were

                  caused to suffer serious personal injuries, emotional distress, conscious pain and suffering,

                  mental anguish and/or physical manifestations thereof, and other losses, all of which have not as

                  of yet been ascertained.

                         94.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                         95.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendant in such sums as a jury would find fair, just and adequate.

                         96.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                         97.    This action falls within exceptions to Article 16 of the C.P.L.R.

                 AS AND FOR THE NINTH CAUSE OF ACTION FOR NEGLIGENT INFLICTION OF
                     EMOTIONAL DISTRESS AS TO DEFENDANT DEANA CHIAPPONE d/b/a
                                             ONSTAGE

                        98.      Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 97., inclusive, with the

                 same force and effect as if herein set forth at length.

                         99.    Defendant DEANA CHIAPPONE d/b/a ONSTAGE. and its agents, servants

                 and/or agents, servants and employees, knew or reasonably should have known that the failure to

                 properly advise, supervise and hire MATTHEW MULLETT, who sexually abused Plaintiffs,

                 would and did proximately result in physical and emotional distress to Plaintiffs.

                        100.    Defendant DEANA CHIAPPONE d/b/a ONSTAGE and its agents, servants

                 and/or agents, servants and employees knew or reasonably should have known that the sexual




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                 abuse and other improper conduct would and did proximately result in physical and emotional

                 distress to Plaintiffs.


                          101. Defendant DEANA CHIAPPONE d/b/a ONSTAGE had the power, ability,

                  authority and duty to intervene with and/or stop the improper conduct that resulted in Plaintiffs

                  being sexually abused by MATTHEW MULLETT.

                          102. Despite said knowledge, power and duty, defendant DEANA CHIAPPONE

                  d/b/a ONSTAGE negligently failed to act so as to stop, prevent, and prohibit the improper

                  conduct that resulted in MATTHEW MULLETT sexually abusing Plaintiffs.

                          103. By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          104. By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                  defendants in such sums as a jury would find fair, just and adequate.

                          105. The amount of damages sought exceeds the jurisdiction of all lower courts which

                  would otherwise have jurisdiction.

                          106. This action falls within exceptions to Article 16 of the C.P.L.R.

                         AS AND FOR A TENTH CAUSE OF ACTION FOR NEGLIGENCE AS TO
                                    DEFENDANT DEANA CHIAPPONE KAHLE

                         107.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 106. inclusive, with the

                 same force and effect as if hereinafter set forth at length.

                         108.    At all times mentioned herein, defendant DEANA CHIAPPONE KAHLE owed

                 a duty of care in loco parentis to keep the minor children who use her services, facilities and




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                 venues safe from sexual abuse by her agents, servants and employees including disc jockeys under

                 her supervision and control that ultimately befell the Plaintiffs.


                        109. At all times herein mentioned, defendant DEANA CHIAPPONE KAHLE owed a

                 duty of care to properly supervise her agents, servants and employees, including disc jockeys to

                 ensure that the minor children who used her services, facilities and venues were not being abused

                 by her agents, servants and employees including disc jockeys.


                        110.     At all times mentioned herein, defendant DEANA CHIAPPONE KAHLE

                 and/or her agents, servants and/or agents, servants and employees breached the above-stated duty

                 in a negligent, reckless, willful and wanton manner, and caused Plaintiffs to be sexually assaulted.

                        111.    As a result of the negligence of defendant DEANA CHIAPPONE KAHLE

                 and/or her agents, servants and/or agents, servants and employees, plaintiffs were caused serious

                 personal injuries, emotional distress, mental pain and suffering, mental anguish and/or physical

                 manifestations thereof, and other losses, all of which have not as of yet been ascertained.


                        112.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        113.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        114.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        115.    This action falls within exceptions to Article 16 of the C.P.L.R.




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                    AS AND FOR AN ELEVENTH CAUSE OF ACTION FOR NEGLIGENT HIRING,
                     RETENTION AND SUPERVISION AS TO DEFENDANT DEANA CHIAPPONE
                                               KAHLE


                        116.     Plaintiffs repeat, reiterate and reallege each and every allegation contained in

                 those paragraphs of this Complaint marked and designated 1. through 115. inclusive, with the

                 same force and effect as if hereinafter set forth at length.

                        117.    Defendant DEANA CHIAPPONE KAHLE had a duty to supervise and prevent

                 known risks of harm to minor children dancers and students.

                        118.    Defendant DEANA CHIAPPONE KAHLE was negligent in hiring, retaining

                 and supervising defendant MATTHEW MULLETT and other agents, servants and employees,

                 who were careless, unskillful, negligent, reckless and acted in a willful and wanton manner in not

                 possessing the requisite knowledge, skill and moral character of agents, servants and employees

                 who should have properly been supervising the disc jockeys to ensure the safety of the minor

                 children dancers and students.

                        119.    Defendant DEANA CHIAPPONE KAHLE knew or should have known that

                 defendant MATTHEW MULLETT sexually assaulted plaintiffs and/or had the capacity and/or

                 propensity to do so.

                        120.    As a result of such negligent hiring, supervising and retention, Plaintiffs were

                 caused to suffer serious personal injuries, emotional distress, conscious pain and suffering, mental

                 anguish and/or physical manifestations thereof, and other losses, all of which have not as of yet

                 been ascertained.

                        121.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.




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                        122.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendant in such sums as a jury would find fair, just and adequate.

                        123.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        124.    This action falls within exceptions to Article 16 of the C.P.L.R.

                 AS AND FOR THE TWELFTH CAUSE OF ACTION FOR NEGLIGENT INFLICTION
                  OF EMOTIONAL DISTRESS AS TO DEFENDANT DEANA CHIAPPONE KAHLE

                        125.    Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                        paragraphs of this Complaint marked and designated 1. through 124., inclusive, with the

                 same force and effect as if herein set forth at length.

                        126.    Defendant DEANA CHIAPPONE KAHLE and her agents, servants and/or

                 employees, knew or reasonably should have known that the failure to properly advise, supervise

                 and hire MATTHEW MULLETT, who sexually abused Plaintiffs, would and did proximately

                 result in physical and emotional distress to Plaintiffs.


                        127.    Defendant DEANA CHIAPPONE KAHLE and her agents, servants and/or

                 employees knew or reasonably should have known that the sexual abuse and other improper

                 conduct committed by MATTHEW MULLETT would and did proximately result in physical

                 and emotional distress to Plaintiffs.

                        128.    Defendant DEANA CHIAPPONE KAHLE had the power, ability, authority and

                 duty to intervene with and/or stop the improper conduct that resulted in Plaintiffs being sexually

                 abused by MATTHEW MULLETT.




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                        129.    Despite said knowledge, power, ability, authority and duty, defendant DEANA

                 CHIAPPONE KAHLE negligently failed to act so as to stop, prevent, and prohibit the improper

                 conduct that resulted in MATTHEW MULLETT sexually abusing Plaintiffs.

                        130.    By reason of the foregoing, Plaintiffs are entitled to compensatory damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        131.    By reason of the foregoing, Plaintiffs are entitled to punitive damages from

                 defendants in such sums as a jury would find fair, just and adequate.

                        132.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        133.    This action falls within exceptions to Article 16 of the C.P.L.R.

                       AS AND FOR A THIRTEENTH CAUSE OF ACTION FOR INTENTIONAL
                      INFLICTION OF EMOTIONAL DISTRESS AS TO DEFENDANT MATTHEW
                                               MULLETT

                        134.     Plaintiffs repeat reiterate, and reallege each and every allegation contained in

                 those paragraphs of the Complaint marked and designated 1. through 133., inclusive, with the

                 same force and effect as if hereafter set forth at length.

                        135.    Defendant MATTHEW MULLETT engaged in outrageous conduct towards

                 plaintiffs JANE DOE 1, JANE DOE 2, and CAMELLIA BELLIS, with the intention to cause,

                 or with reckless disregard for the probability of causing, plaintiffs to suffer severe emotional

                 distress by sexually assaulting them when they were minor children.

                        136.    As a proximate result of the aforementioned assaults, batteries, and other sexual

                 violations committed against Plaintiffs JANE DOE 1, JANE DOE 2, and CAMELLIA

                 BELLIS, they have suffered and continue to suffer extreme mental distress, humiliation, anguish,




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                 and emotional and physical injuries, as well as economic losses, all their damages in amounts to

                 be proven at trial.

                         137.    Defendant MATTHEW MULLETT committed the acts alleged herein

                 maliciously, fraudulently, and oppressively with the wrongful intention of injuring plaintiffs

                 JANE DOE 1, JANE DOE 2, and CAMELLIA BELLIS, from an improper and evil motive

                 amounting to malice and in conscious disregard of plaintiffs’ rights, entitling plaintiffs to recover

                 punitive damages in amounts to be proven at trial.


                         138.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.


                         139.    This action falls within the exceptions to Article 16 of the C.P.L.R.

                    AS AND FOR THE FOURTEENTH CAUSE OF ACTION FOR ASSAULT AS TO
                                    DEFENDANT MATTHEW MULLETT

                         140.    Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                 paragraphs of this Complaint marked and designated 1. Through 139., inclusive, with the same

                 force and effect as if herein set forth at length.

                         141.    Defendant MATTHEW MULLETT’s predatory, abusive, manipulative and

                 unlawful acts against plaintiffs JANE DOE 1, JANE DOE 2, and CAMELLIA BELLIS,

                 created a reasonable apprehension in plaintiffs of immediate harmful or offensive contact to

                 plaintiffs’ persons, all of which were done intentionally by defendant MATTHEW MULLETT

                 to plaintiffs without plaintiffs’ consent.

                         142.    As a direct and proximate result of the aforementioned assaults, Plaintiffs have

                 sustained in the past, and will continue to sustain in the future, serious and severe psychological

                 injuries and emotional distress, mental anguish, embarrassment and humiliation.


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                         143.    As a direct and proximate result of the aforementioned assaults, plaintiffs have

                 incurred medical expenses and other economic damages, and will now be obligated to expend

                 sums of money for medical care and attention in effort to cure themselves of their injuries and to

                 alleviate their pain and suffering, emotional distress, mental anguish, embarrassment and

                 humiliation.

                         144.    By reason of the foregoing, plaintiffs JANE DOE 1, JANE DOE 2, and

                 CAMELLIA BELLIS are entitled to compensatory damages from defendant MATTHEW

                 MULLETT in such sums a jury would find fair, just and adequate, and the plaintiffs are further

                 entitled to punitive and exemplary damages from defendant MATTHEW MULLETT in such

                 sums as a jury would find fair, just and appropriate to deter said defendant and others from future

                 similar misconduct.


                         145.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                         146.    This action falls within exceptions to Article 16 of the C.P.L.R.

                      AS AND FOR THE FIFTEENTH CAUSE OF ACTION FOR BATTERY AS TO
                                           MATTHEW MULLETT

                         147.    Plaintiffs repeat, reiterate and reallege each and every allegation contained in those

                 paragraphs of this Complaint marked and designated 1. through 146., inclusive, with the same

                 force and effect as if herein set forth at length.

                         148.    Defendant MATTHEW MULLETT’s aforementioned unlawful, abusive,

                 manipulative, and predatory acts against plaintiffs JANE DOE 1, JANE DOE 2 and

                 CAMELLIA BELLIS, amounted to a series of harmful and offensive contacts to plaintiffs’

                 persons all of which were done intentionally by defendant to plaintiffs without plaintiffs’ consent.



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                        149.    As a direct and proximate result of the aforementioned batteries, Plaintiffs have

                 sustained in the past, and will continue to sustain in the future, psychological injury, pain and

                 suffering, serious and severe psychological and emotional distress, mental anguish,

                 embarrassment and humiliation.

                        150.    By reason of the foregoing, plaintiffs JANE DOE 1, JANE DOE 2 and

                 CAMELLIA BELLIS are entitled to compensatory damages from defendant MATTHEW

                 MULLETT in such sums a jury would find fair, just and adequate, and the plaintiffs are further

                 entitled to punitive and exemplary damages from defendant MATTHEW MULLETT in in such

                 sums as a jury would find fair, just and appropriate to deter said defendant and others from future

                 similar misconduct.


                        151.    The amount of damages sought exceeds the jurisdiction of all lower courts which

                 would otherwise have jurisdiction.

                        152.    This action falls within exceptions to Article 16 of the C.P.L.R.

                        WHEREFORE, plaintiffs demand judgement against defendants in such sum as a jury

                 would find fair, adequate and just, and other and further relief as this Honorable Court may deem

                 just and proper.

                 Dated: New York, New York
                        November 5, 2021
                                                                                MERSON LAW, PLLC




                                                                        By: _
                                                                                Jordan K. Merson
                                                                                Attorney for Plaintiffs
                                                                                950 Third Avenue, 18th Floor
                                                                                New York, New York 10022
                                                                                (212) 603-9100


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                 SUPREME COURT OF THE STATE OF NEW YORK
                 COUNTY OF NIAGARA
                 -------------------------------------------------------------------X
                 JANE DOE 1, JANE DOE 2, and CAMELLIA BELLIS,
                                                                                        Index No.: E173039/2020
                                                    Plaintiffs,

                                  -against -                                                 ATTORNEY
                                                                                            VERIFICATION
                 ONSTAGE DANCE, INC., ONSTAGE, LLC, DEANA
                 CHIAPPONE d/b/a ONSTAGE, DEANA CHIAPPONE
                 KAHLE and MATTHEW MULLETT,

                                                     Defendants.
                 ------------------------------------------------------------------X

                          JORDAN K. MERSON, an attorney duly admitted to practice in the Courts of New York

                 State, and a member of the firm MERSON LAW, PLLC, attorneys for the plaintiffs in the within

                 action, hereby affirms under penalty of perjury:

                          That he has read the within complaint and knows the contents thereof, and that the same

                 is true to his own knowledge, except as to the matters therein stated to be alleged upon

                 information and belief, and that as to those matters he believes it to be true;

                          That the sources of his information and knowledge are investigations and records in the

                 file; and,

                         That the reason this verification is made by affirmant and not by the plaintiffs is that the

                 plaintiffs are not within the County where the attorney has his office.

                 Dated: New York, New York
                          November 5, 2021




                                                                            JORDAN K. MERSON



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